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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :       Mag. No. 20-5666 (KMW)
                                               :
               v.                              :       SEALING ORDER
                                               :
JOHN MICHAEL MUSBACH                           :



               This matter having come before the Court upon the application of the United

States of America, by Craig Carpenito, United States Attorney (Diana Vondra Carrig, Assistant

United States Attorney, appearing) for an order sealing the Complaint and related papers in this

matter, and for good cause shown,

               IT IS on this 10th day of August, 2020,

               ORDERED that the Complaint in this matter and all related papers, with the

exception of the arrest warrant and copies thereof, be filed under seal, and they are hereby sealed

until the arrest of the individual named in the warrant or until further order of this Court.



                                               ______________________________
                                               HONORABLE KAREN M. WILLIAMS
                                               United States Magistrate Judge
